377 F.2d 559
    UNITED STATES of Americav.Daniel M. KENSTLER, Appellant.
    No. 16037.
    United States Court of Appeals Third Circuit.
    Argued May 22, 1967.Decided May 31, 1967.
    
      Michael Hahalyak, Pittsburgh, for appellant.
      George E. Schumacher, Asst. U.S. Atty., Pittsburgh, Pa.  (Gustave Diamond, U.S. Atty., Pittsburgh, Pa., on the brief), for appellee.
      Before STALEY, Chief Judge, and KALODNER and FREEDMAN, Circuit Judges.
      OPINION OF THE COURT
      PER CURIAM:
    
    
      1
      On review of the record we find no error.  The judgment of sentence of the District Court, D.C., 250 F.Supp. 833, will be affirmed.
    
    